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              IN THE UNITED STATES DISTRICT COURT
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           FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12                                      Case No. 21-MJ-4298
     UNITED STATES OF AMERICA,
13                                      ORDER OF DETENTION
                    Plaintiff,
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               v.
15
     DANIEL HOLLINGSWORTH,
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                    Defendant.
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 1                                            I.

 2          On September 17, 2021, Defendant made his initial appearance, by consent

 3   to appear by video teleconference, on the criminal complaint filed in this matter.

 4   Deputy Federal Public Defender Ramanujan Nadadur was appointed to represent

 5   Defendant. A detention hearing was held.


 7          ❑     On motion ofthe Government[18 U.S.C. § 3142(fl(1)] in a case

 8   allegedly involving a narcotics or controlled substance offense with maximum

9    sentence often or more years.

10          ~     On motion by the Government or on the Court's own motion

11   [18 U.S.C. § 31420(2)] in a case allegedly involving a serious risk that the

12   defendant will flee.

13         The Court concludes that the Government is not entitled to a rebuttable

14   presumption that no condition or combination of conditions will reasonably assure

15   the defendant's appearance as required and the safety or any person or the

16   community [18 U.S.C. § 3142(e)(2)].

17                                            II.

18         The Court finds that no condition or combination of conditions will

19   reasonably assure: ~ the appearance ofthe defendant as required.

20                      ~ the safety of any person or the community.
21                                          III.

22         The Court has considered:(a)the nature and circumstances of the offenses)

23   charged, including whether the offense is a crime of violence, a Federal crime of

24   terrorism, or involves a minor victim or a controlled substance, firearm, explosive,

25   or destructive device;(b)the weight of evidence against the defendant;(c)the

26   history and characteristics of the defendant; and (d)the nature and seriousness of

27   the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also

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 1 . considered all the evidence adduced at the hearing and the arguments of counsel,
 2 ; and the report and recommendation of the U.S. Pretrial Services Agency.
                                              IV.
             The Court bases its conclusions on information included in the pretrial
     services report and the indictment:

             As to risk ofnon-appearance:
 ~                 ~      Background information is unverified
 g                 ~      Defendant has a history of alcohol abuse and admitted use of
 9   Marijuana on a daily basis, and defendant is not amenable to substance abuse

10   treatment.

11                 O      Defendant has not provided any third party bail resources, and
12           given the defendant's history of law enforcement contacts and the

13           allegations in the criminal complaint, the Court is not inclined to accept

14           Defendant's offer to post a cash bond and sign an unsecured bond as an

15           appropriate bail resource.

16                 ~      Defendant's law enforcement contacts include violations of
1~   parole, and a failure to appear which suggest that Defendant will not abide by court
1g   orders to appear.

19
20           As to danger to the community:

21                 ~      allegations in the criminal complaint involve a violent assault
22           on federal law enforcement officers and are indicative of Defendant's
23           pattern of criminal activity as set forth in his numerous law enforcement
24           contacts.
25                  O     Defendant has an active protective warrant with no expiration
26   date.

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 1 ~v                                         ~~~

 2         IT IS THEREFORE ORDERED that the defendant be detained until trial.
 3   The defendant will be committed to the custody ofthe Attorney General for
 4   confinement in a corrections facility separate, to the extent practicable, from
 5   persons awaiting or serving sentences or being held in custody pending appeal.
 6   The defendant will be afforded reasonable opportunity for private consultation
 7   with counsel. On order of a Court of the United States or on request of any
 8   attorney for the Government,the person in charge of the corrections facility in
 9   which defendant is confined will deliver the defendant to a United States Marshal
10   for the purpose of an appearance in connection with a court proceeding.
11   [18 U.S.C. § 3142(1)]
12
     Dated: September 17, 2021
13
                                                         /s/
14                                                   ALKA SAGAR
                                            UNITED STATES MAGISTRATE JUDGE
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